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 8 Attorneys for Defendants/Counterclaimants
 9                        IN THE UNITED STATES DISTRICT COURT
10                                FOR THE DISTRICT OF ARIZONA
11   JOANNE ZUNIGA, an individual, and          No. CV-15-1978-PHX-DKD
     DAVID M. REAVES, Chapter 7
12   Bankruptcy Trustee,
                                                      DEFENDANTS’/
13                  Plaintiffs,                    COUNTERCLAIMANTS’
                                                RESPONSE IN OPPOSITION TO
14   vs.                                         PLAINTIFFS’ MOTION FOR
                                                   SUMMARY JUDGMENT
15   FIESTA PEDIATRIC THERAPY,
     INC., an Arizona corporation; BETH
16   WILLIAMSON, an individual, and
     RANDY WILLIAMSON, her husband,
17
                    Defendants.
18
     FIESTA PEDIATRIC THERAPY,
19   INC., an Arizona corporation; BETH
     WILLIAMSON, an individual, and
20   RANDY WILLIAMSON, her husband,
21                  Counterclaimants,
22   vs.
23   JOANNE ZUNIGA, an individual, and
     David Mr. Reaves, Chapter 7
24   Bankruptcy Trustee,
25                  Counterdefendants.
26          Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule
27 56.1, Defendants/Counterclaimants, by and through undersigned counsel, hereby
28 submit their Opposition to Plaintiffs’ Motion for Summary Judgment. .
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     I.     PLAINTIFFS’ FLSA OVERTIME CLAIM FAILS BECAUSE MS.
 1
            ZUNIGA WAS PAID CONSISTENT WITH THE REQUIREMENTS
 2          FOR THE FWW RATE AND BECAUSE SHE WAS EXMEPT FROM
            OVERTIME.
 3
            Plaintiffs have requested the Court to enter summary judgment, finding as a
 4
     matter of law that Ms. Zuniga is entitled to prevail on her FLSA overtime claims.
 5
     However, Ms. Zuniga is not entitled to any of the claimed overtime because: (a) she
 6
     was paid properly in accordance with the FWW Method; and (b) she was exempt
 7
     from overtime pursuant to the Administrative Exemption.         For these reasons,
 8
     summary judgment should actually be entered in Defendants’ favor. These matters
 9
     are addressed, in turn, below.
10
            A.      Ms. Zuniga was Paid Properly in Accordance with the FWW Method.
11
            As the Court is aware, the parties dispute whether the Fluctuating Work Week
12
     Method (“FWW Method”) of pay applies in this case and whether it precludes
13
     Plaintiffs’ claims of unpaid overtime. Defendants raised the issue early in the case
14
     believing it was dispositive and irrefutable, while they reserved their remaining
15
     dispositive arguments for after the close of discovery. Obviously the FWW Method
16 remains a crucial matter in dispute, still heavily argued by the parties. Instead of
17 simply repeating the Defendants’ arguments raised in their Motion for Summary
18 Judgment, which is incorporated herein by reference, Defendants offer another way
19 of considering the matter that they hope may shed light on the proper functioning of
20 the FWW Method of pay.
21          Specifically, to better understand the FWW Method, we should compare a
22 companion doctrine recognized on the same day by the Supreme Court, namely the
23 Belo doctrine. On June 8, 1942, the Supreme Court decided two companion cases,
24 both involving FLSA overtime pay, namely the Missel case and the Belo case. In
25 these two similar, but very different, case decisions, the Supreme Court outlined two
26 salary-based methods for compensating non-exempt employees consistent with the
27 FLSA that do not require the payment of traditional overtime at the rate of one and
28 one-half times the regular rate. See Overnight Motor Transp. Co. v. Missel, 316 U.S.

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     572 (1942); Walling v A.H. Belo Corp., 316 U.S. 624, 62 S. Ct. 1223 (1942). The
 1
     employer rights recognized in both of these cases remain intact to this day. But it is
 2
     the distinctions between these two methods of using salaries to compensate non-
 3
     exempt employees for their overtime that highlights why Fiesta complied with the
 4
     Supreme Court’s requirements set forth in Missel.
 5
            To understand Missel (establishing the FWW Method) and Belo (establishing
 6
     Belo Plans) we must first dispense with traditional, but mistaken, views of the
 7
     FLSA’s overtime requirement. The perspective that an employer must pay additional
 8
     overtime pay at one and one-half the base rate any time an exempt employee works
 9
     past 40 hours in a workweek is a common misconception and oversimplification.
10
     Belo proves that this is not always required. Similarly, Missel only requires a half-
11
     time rate when an employee works beyond 40 hours in a workweek. Over 70 years
12
     ago, the Supreme Court put the notion to rest that an employer may only comply with
13
     overtime requirements by issuing additional pay.
14
            What the Supreme Court recognized in both Missel and Belo is the fact that
15
     employers can capture overtime in the base salary that it sets. Through Belo, an
16
     employer can all but eliminate traditional overtime pay, hence the more rigorous
17
     requirements for Belo plans, and through Missel an employer can limit overtime pay
18
     to as little as a half-time rate, hence its less rigorous requirements.
19
            To explain, as the Court has already been briefed extensively on Missel, we
20
     address Belo. Through the Belo decision, the Supreme Court ruled that an employer
21
     may capture intended overtime up to 60 hours in a workweek through a flat,
22 established, weekly salary for non-exempt employees, with no additional overtime
23 payments whatsoever. Thus, where an employer complies with the requirements in
24 Belo, it may pay a non-exempt employee the same base salary from week to week
25 without paying any additional overtime, even if the employee works 45, 50, or even
26 55 hours in a workweek. This, of course, dashes the common misconception that
27 employers must always pay additional pay any time a non-exempt employee works
28 more than 40 hours in a workweek.

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            Given that the salary basis for providing implicit overtime pay could seriously
 1
     impact the potential for overtime pay, there are numerous limits to Belo plans. First,
 2
     for Belo plans, the employee’s workweeks must involve irregular hours that are
 3
     difficult to anticipate and, expressly, must fluctuate below 40 hours on occasion.
 4
     Second, the plan only applies if the employee works less than 60 hours – traditional
 5
     overtime pay must be added when an employee works beyond this cap. Third, both
 6
     the employer and the employee must expressly agree to the Belo plan. It need not be
 7
     in writing, but it must be agreed to.1 29 C.F.R. §§ 778.402 & 778.406.
 8
            As we can see from the distinctions above, the requirements under Missel and
 9
     Belo are quite different, yet illuminate their intended differences. Belo was designed
10
     to permit an employer to capture the entirety of overtime pay through an established
11
     weekly salary. Conversely, Missel recognized that an employer can meet overtime
12
     requirements that include both a salary (which captures the 1 of the 1.5 times for an
13
     overtime rate) plus at least a half-time addition for overtime. Yet, it is the rigor
14
     applicable to Belo plans that may have mislead some courts to believe the same
15
     standards apply to the FWW Method approved in Missel.
16
            The vast majority, and correctly-reasoned, case decisions have not conflated
17
     the FWW Method authorized by Missel with the more rigorous requirements
18
     applicable to Belo plans. These courts have ruled that an employee’s workweek need
19
     never fluctuate below 40 for the FWW Method to apply. See, e.g., Urnikis-Negro v.
20
     American Fam. Prop. Servs., 616 F.3d 665, 683-84 (7th Cir. 2010); Condo v. Sysco
21
     Corp., 1 F.3d 599, 605 (7th Cir. 1993); Aiken v. County of Hampton, 1998 WL
22 957458 at *3 (4th Cir. 1998); Yadev v. Coleman Oldsmobile, Inc., 538 F.2d 1206,
23 1207-08 (5th Cir. 1976); Hasan v. GPM Investments, LLC, 896 F. Supp. 2d 145, 150
24 (D. Conn. 2012); Mitchell v. Abercrombie & Fitch, Co., 428 F. Supp. 2d 725, 734
25
26
            1
27          Following the Supreme Court’s decision in Belo, Congress modified the
   FLSA, specifically by adopting Section 7(f), to incorporate the decision into the
28 statutory framework.

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     (S.D. Ohio 2006); Newsom v. NPC Inter., 2003 WL 23849758 at*4 (W.D. Tenn.
 1
     2003).
 2
              Mandating that some workweeks drop below 40 hours is a requirement for
 3
     Belo plans. This is not, and has never been, a requirement for the FWW Method,
 4
     either as articulated by the Supreme Court or in any opinion letter or regulation
 5
     imposed by the DOL, or by any circuit court.
 6
              B.    Ms. Zuniga was Exempt from Overtime Under the FLSA.
 7
              Plaintiff was exempt from overtime under one of the FLSA’s “white collar
 8
     exemptions” – namely the Administrative Exemption. Under the Administrative
 9
     Exemption, an employee is exempt from overtime if he or she is paid a salary at not
10
     less than $455 per week and performs the duties that qualify someone for the
11
     exemption. The individual’s duties must be the performance of office or non-manual
12
     work directly related to the management or general business operations of the
13
     employer or the employer’s customers and the primary duty includes the exercise of
14
     discretion and independent judgment with respect to matters of significance. If
15
     Plaintiff’s duties met this requirement, she has no claim to overtime. See 29 C.F.R. §
16
     541.205(a).
17
              For purposes of the exemption, the term “directly related to management or
18
     general business operations” means work directly related to assisting with the
19
     running or servicing of the business, as opposed to production. The individual is
20
     considered to exercise discretion and independent judgment in these areas if the
21
     individual has authority to make independent choice, free from immediate direction.
22 The fact that an employee’s decisions are revised or reversed after review does not
23 mean that the individual does not exercise discretion and independent judgment. So
24 long as the individual exercises judgment at the time, he or she meets the
25 requirements.
26            While working for Fiesta, Plaintiff was in charge of scheduling and handled
27 99.9% of the scheduling work, and acted as the de facto office manager when her
28 sister, Ms. Singh, was out of the office. (Defendants’ SOF, ¶¶ 3 & 24.) Ms.

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     Zuniga’s job as Scheduler and when acting as the office manager inherently was
 1
     designed for the “running or servicing of the business.”
 2
            Plaintiffs role as the Scheduler relied upon independent judgment – she
 3
     needed to determine patient needs from their therapy histories, determine the
 4
     particularized skills and availability of each individual therapist, evaluate authorized
 5
     insurance and medical coverage to determine what therapies would be authorized and
 6
     how frequently appointments could be scheduled based on provider. (Defendants’
 7
     SOF, ¶¶ 18-25; Defendants’ Controverting SOF, ¶¶ D11-D16.) She had a bevy of
 8
     options to choose from in selecting therapists and schedules, and made the unilateral
 9
     decisions with respect to each. (Defendants’ SOF, ¶ 25; Defendants’ Controverting
10
     SOF, ¶¶ D11-D17.) She would then set the schedules for the therapists’ sessions
11
     with their patients. (Defendants’ SOF, ¶ 25; Defendants’ Controverting SOF, ¶¶
12
     D15-D16.) In other words, Scheduling involved much more than mere assignment of
13
     patient to a particular date – if, indeed, that is all that was involved, we are left to
14
     scratch our heads over why Plaintiff took so many overtime hours. Plaintiff’s work
15
     was crucial to the success of Fiesta. Without it, there would have been no business,
16
     no clients, and no income.
17
            Similar work has been deemed exempt by other courts. For instance, one
18
     court recognized that an employee “responsible for scheduling the delivery of
19
     materials to the plant” performed exempt work under the Administrative Exemption.
20
     Schreckenbach v. Tenaris Coiled Tubes, LLC, 2013 WL 178126 at *2 & 9-10 (S.D.
21
     Tex. 2013). The Seventh Circuit has ruled that “work planners” who planned and
22 scheduled equipment repairs for the plant where they worked fell within the
23 Administrative Exemption. Kennedy v. Commonwealth Edison Co., 410 F.3d 365,
24 372-75 (7th Cir. 2005). Similarly, the Sixth Circuit determined that “planners” who
25 received job orders, scheduled repairs, prepared work packages and distributed those
26 packages to the actual work crews were exempt under the Administrative Exemption.
27 See Renfro v. Indiana Mich. Power Co., 370 F.3d 512, 515, 517-19 (6th Cir. 2004).
28          Moreover, Plaintiff was left to her own devices to decide how to schedule.
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     There was no Fiesta manual, no handbook, and no specific guidelines. (Defendants’
 1
     Controverting SOF, ¶ D17.) Ms. Zuniga has generically asserted that she followed
 2
     some undefined instructions, but she has never elaborated on them, nor has she
 3
     identified anything that qualifies as such. Regardless of the vague nature of her
 4
     assertions, other courts have recognized that the mere following of requirements does
 5
     not strip exemption from the job. For instance, in Renfro, the “planners” followed
 6
     very explicit, very-detailed, regulations for their work, which the Sixth Circuit ruled
 7
     did not strip them of the type of discretion intended for the exemption. Renfro, 370
 8
     F.3d at 519 (“We disagree with the planner’s argument that the heavily-regulated
 9
     nature of their primary job duty prohibits their exercise of discretion and independent
10
     judgment.”); accord Kennedy v. Commonweatlh Edison Co., 410 F.3d 365, 374 (7th
11
     Cir. 2005).
12
              Plaintiff has claimed at times that Dr. Williamson has authority to override her
13
     decisions, but according to Dr. Williamson, this rarely happened.          (Defendants’
14
     Controverting SOF, ¶ D18.)          And, as previously indicated, the fact that an
15
     employee’s decisions are subject to revision or reversal after review does not mean
16
     that the individual does not exercise discretion and independent judgment in the first
17
     place.     See, e.g., Kennedy v. Commonweatlh Edison Co., 410 F.3d at 374;
18
     Schreckenbach v. Tenaris Coild Tubes, LLC, 2013 WL 178126 at *7 (S.D. Tex.
19
     2013) (“If final decision-making authority were the test for determining whether a
20
     person was an executive or administrative employee, few would ever qualify as such
21
     an employee under the regulations.”).
22
              A crucial aspect for of the Administrative Exemption is determining whether
23 the work is “production” versus “servicing.” The job of “production” employees is
24 “to generate (i.e. ‘produce’) the very product or service that the employer’s business
25 offers to the public.” Renfro, 370 F.3d at 517-18 (internal quotations omitted). For
26 Fiesta, this is the actual therapy work performed by Fiesta’s therapists. The servicing
27 – i.e. the scheduling – performed by Plaintiff was of the type contemplated by the
28 Administrative Exemption. See id.

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                    (1)   Ms. Zuniga was paid on a salary basis.
 1
            As with the FWW Method of pay, the Administrative Exemption requires that
 2
     Ms. Zuniga be paid on a salary basis. The Department of Labor specifies that an
 3
     employee is paid on a “salary basis” for purposes of this requirement “if the
 4
     employee regularly receives each pay period on a weekly, or less frequent basis, a
 5
     predetermined amount constituting all or part of the employee’s compensation, which
 6
     amount is not subject to reduction because of variations in the quality or quantity of
 7
     the work performed.”      29 CFR § 541.602(a).        As previously articulated, and
 8
     supported by case law, the label “salary” is not required anywhere in this definition.
 9
     The question is whether Ms. Zuniga received a pre-determined amount as her base
10
     every pay period, which she did. Fiesta never dropped below that amount. She
11
     therefore received a “salary.”
12
                    (2)   The Ninth Circuit has expressly recognized that docking an
13                        employee’s leave bank does not defeat the salary basis test.
14          For purposes of determining whether Ms. Zuniga was properly paid on a
15 salary basis, the Ninth Circuit has already ruled that it is irrelevant whether a PTO /
16 vacation pool bank was docked for absences. Barner v. City of Novato, 17 F.3d
17 1256, 1261-62 (9th Cir. 1994) (holding that the use of the words “amount” and
18 “compensation” in DOL regulations refers to “cash” or “salary” not personal or
19 vacation time for purposes of defeating salary basis test when there are deductions
20 from accrued vacation pools).
21 II.      PLAINTIFFS’ VARIOUS REQUESTS FOR SUMMARY JUDGMENT
22          ON SECONDARY ISSUES GOVERNING THE NUANCES OF
            PLAINTIFFS’ FLSA CLAIM SHOULD BE DENIED.
23
            Plaintiffs also request the Court to enter summary judgment in their favor on a
24
     variety of issue secondary to the central disputes in this case, but the law does not
25
     support their contentions or requests.       Specifically, Plaintiffs request summary
26
     judgment finding: (a) that her claims are governed by the three-year limitations
27
     period applicable to willful violations; (b) that she should be awarded liquidated
28

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     damages; (c) that Dr. Williamson should be held personally liable for the alleged
 1
     FLSA violation; (d) that Dr. Williamson’s ex-husband, Randy Williamson, should be
 2
     held personally liable for the alleged FLSA violation; and (e) that a sum certain
 3
     award should be entered in her favor. Not only are these requests unfounded, they
 4
     misstate the applicable facts and law. Indeed, summary judgment on each of these
 5
     issues should be entered in Defendants’ favor.        Each of Plaintiffs’ requests is
 6
     addressed, in turn, below.
 7
 8          A.      Plaintiff’s Claims are Governed by a Two-Year Limitations Period.
 9          Claims under the FLSA are presumptively governed by a two-year limitations
10 period. 29 U.S.C. § 255(a). This period may be extended to three years if the
11 Plaintiff proves that Defendants committed a “willful violation,” that is that the
12 employer knew it was in violation of the FLSA or showed reckless disregard for its
13 obligations. See McLaughlin v. Richard Shoe Co., 486 U.S. 128, 134, 108 S. Ct.
14 1677, 1682, 100 L. Ed. 2d 115 (1988); Trans World Airlines, Inc. v. Thurston, 469
15 U.S. 111, 125-30, 105 S. Ct. 613, 623-26, 83 L. Ed. 2d 523 (1985). In setting this
16 standard, the Supreme Court expressly rejected a lesser standard of culpability. Id.,
17 486 U.S. at 132-33, 108 S. Ct. at 1680-81. The Court found that Congress, in
18 requiring the “willful violation” standard, intended a meaningful distinction between
19 higher culpability and ordinary violations. Id. “Ordinary violations of the FLSA are
20 subject to the general 2-year statute of limitations.” Id., 486 U.S. at 134, 108 S. Ct. at
21 1682.
22          Plaintiff bears the burden of proving willfulness. Nelson v. Waste Mgmt. of
                                                  th
23 Alameda County, Inc., 33 Fed. Appx. 273, 274 (9 Cir. 2002); Juvera v. Salcido,
24 2013 WL 6628039 at * (D. Ariz. 2013). Mere ordinary negligence is not enough to
     meet this requirement. Id. In fact, “[i]f an employer acts unreasonably, but not
25
     recklessly” under the FLSA, its action is not willful. McLaughlin, 486 U.S. at 135
26
     n.13, 108 S. Ct. at 1683 n.13.
27
            Ms. Zuniga argues that the three-year limitation period applies and therefore
28

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     extends her claims back to August 12, 2012.2 But Ms. Zuniga cannot meet her
 1
     burden of proof. Dr. Williamson believed that Fiesta was properly paying Ms.
 2
     Zuniga in compliance with the FLSA, and believed that Ms. Zuniga’s sister, of all
 3
     people, would not intentionally underpay Ms. Zuniga. Ms. Zuniga’s responsibilities
 4
     as Scheduler demonstrate that she was exempt from overtime.               (Defendants’
 5
     Controverting SOF, ¶¶ D11-D17.) And the very generous pay plan given to Ms.
 6
     Zuniga, by which she received a guaranteed base salary regardless of whether she
 7
     worked a full 40 hours per week, plus overtime pay at her straight-time equivalent,
 8
     shows good faith. (Defendants SOF, ¶¶ 28, 34-36, 38-39, 46-49.)
 9
            Argument between the parties in this case over application of the FWW
10
     Method turns on a number of disagreements between the courts, with Plaintiff citing
11
     the minority views. In disputes involving “close questions of law and fact” or
12
     involving “a case of first impression” concerning application of certain aspects of the
13
     FLSA, many courts have ruled that an employer’s FLSA violation inherently is not
14
     willful. See, e.g., Reich v. Gateway Press, Inc., 13 F.3d 685, 702-03 (3rd Cir. 1994);
15
     accord Reich v. Newspapers of N.E., Inc., 44 F.3d 1060, 1080 & n.18 (1st Cir. 1995);
16
     EEOC v. Westinghouse Elec. Corp., 869 F.2d 696, 713 (3rd Cir. 1989) (“While
17
     stubborn non-compliance in the face of contrary judicial authority might well
18
     constitute willfulness, good-faith adherence to, and defense of, those policies when
19
     the law is unsettled does not establish a willful violation.”); Callahan v. City of
20
     Sanger, 2015 WL 2455419 at *13 (E.D. Cal. 2015); Gonzalez v. Bustleton Servs.,
21
     Inc., 2010 WL 1813487 at *14 (E.D. Penn. 2010) (“When an employer is simply
22 mistaken about the requirements of the FLSA, courts generally find that such a
23 violation is negligent rather than willful.”); Hanscom v. Carteret Mortgage Corp.,
24 2008 WL 4845832 at *4 (M.D. Penn. 2008) (“When the defendant shows that he
25 reasonably believed he was complying with the existing FLSA law, summary
26 judgment for the employer is appropriate on the issue of willfulness.”).
27
28          2
                Ms. Zuniga filed her original Complaint in this matter on August 12, 2015.
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            Ms. Zuniga nonetheless claims that Dr. Williamson intentionally deprived her
 1
     of full overtime pay to save money, which is not only untrue, but completely illogical
 2
     given Ms. Zuniga’s simultaneous pay bump. Ms. Zuniga received a tremendous pay
 3
     bump when she was transitioned to salary.        (Defendants’ SOF, ¶ 34.)      If Dr.
 4
     Williamson was so concerned about the few thousand dollars per year that would
 5
     accrue in the added half-time overtime pay, why increase Ms. Zuniga’s pay rate
 6
     which resulted in an additional $3,265.60 per year in direct pay? 3 And we should not
 7
     overlook the indirect costs to Fiesta with the transition. Ms. Zuniga was guaranteed
 8
     pay the equivalent of 40 hours per week regardless of whether she worked it.
 9
     Additionally, Ms. Zuniga’s overtime rate, whether at half-time, straight-time, or one
10
     and one-half times, was higher with the pay bump from $16.50 per hour to $18.07
11
     per hour. Ms. Zuniga’s claim that Dr. Williamson was a penny-pincher simply does
12
     not add up.
13
            Perhaps recognizing the inherent discrepancy in her claim, Ms. Zuniga turns
14
     to the argument that Dr. Williamson somehow acted irresponsibly in having Ms.
15
     Singh, who was new, make the changes. Yet, this again conflates the facts. Dr.
16
     Williamson did not instruct Ms. Singh to make the changes, nor did she even know
17
     about them when they took place.             (Defendants’ SOF, ¶ 43; Defendants’
18
     Controverting SOF, ¶¶ 16-22.) Ms. Singh took it upon herself to make the changes
19
     and later informed Dr. Williamson about them. (Defendants’ Controverting SOF, ¶
20
     16.) Dr. Williamson, consumed with other responsibilities, which sometimes reached
21
     80 hours per week, relied on her Practice Manager to make intelligent, informed,
22 decisions about pay for the administrative staff. (Defendants’ Controverting SOF, ¶¶
23 101.) Dr. Williamson did not rely upon an unseasoned Practice Manager, as
24 Plaintiff’s argument goes, to make any changes because Dr. Williamson neither
25
26
         3
           This computation is derived by multiplying $1.57 (the difference between
27 the $16.50 per hour she was making previously and the $18.07 hour equivalent she
28 52 weeks. after the pay bump in February of 2011), times 40 hours per week, times
   was  making

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     approved nor was aware of them at the time.4
 1
            Because Plaintiff has not met her burden of proof, summary judgment should
 2
     be granted in Defendants’ favor as to the applicable limitations period.
 3
 4          B.      Liquidated Damages are Unjustified.
 5          Liquidated damages are awarded in cases where a violation of the FLSA is
 6 found, unless the employer demonstrates that it acted “in good faith and . . . had
 7 reasonable grounds for believing that [its] act or omission was not a violation of the
 8 [FLSA].” 29 U.S.C. § 260. Plaintiffs miscite Ninth Circuit precedent in quoting the
 9 Alvarez 3-part test, which applies exclusively to application of the good faith based
10 on the reliance on legal authority defense under § 259, not § 260. Alvarez v. IBP,
11 Inc., 339 F.3d 894, 907 (9th Cir. 2003). Defendants have not asserted a § 259
12 defense.
13          The proper legal test for evaluation of the § 260 good faith defense under
14 Ninth Circuit law is expressed in Chao v. A-One Med. Servs., Inc., 346 F.3d 908, 921
     th
15 (9 Cir. 2003). As set forth by the Ninth Circuit, “[c]ourts have the discretion to
16 deny an award of liquidated damages if the employer shows that it acted in subjective
17 good faith and had objectively ‘reasonable grounds’ for believing that its conduct did
18 not violate the FLSA.” Id. This includes both a subjective and an objective element.
19 As expressed by Dr. Williamson, she subjectively believed that Fiesta was acting in
20 accordance with the FLSA.             (Defendants’ Controverting SOF, ¶¶ 93-94.)

21 Objectively, the fact that a base salary plus overtime was paid – regardless of how
22
            4
               Plaintiff essentially argues that Dr. Williamson relied on a brand new
23
     Practice Manager to make these types of changes, but is in error for two reasons.
24   First, as explained above, Dr. Williamson was unaware that Ms. Singh was making
     these changes at the time. Second, Plaintiff’s confuse the record by suggesting that
25   the information Dr. Williamson relied on in originally hiring Ms. Singh was the same
26   information she relied on in promoting Ms. Singh. As the record reflects, Plaintiff’s
     counsel asked Dr. Williamson what she relied on when hiring Ms. Singh (Ms. Singh
27   was originally hired as a part-time biller), but did not ask what Dr. Williamson relied
     on in promoting Ms. Singh to Practice Manager. (Defendants’ Controverting SOF,
28   ¶¶ 99 & D1.)
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     one may feel about formal application of the FWW Method – demonstrates objective
 1
     good faith.
 2
            C.      Dr. Williamson is not Personally Liable for the Decision of Fiesta’s
 3                  Practice Manager.
 4          Dr. Williamson did not make the pay decision at issue and did not exercise the
 5 control over Ms. Zuniga’s pay, as envisioned by the Ninth Circuit, needed to assume
 6 personal FLSA liability. The Ninth Circuit has recognized that an individual – be it a
 7 supervisor, an owner, or otherwise – may potentially be held personally liable for an
 8 FLSA violation, but only if he or she “exercise[d] control over the nature and
 9 structure of the employment relationship” with the plaintiff. Boucher v. Shaw, 572
10 F.3d 1087, 1090-91 (9th Cir. 2009).           Our analysis of this must include the
11 “circumstances of the whole activity,” including the “economic reality” of the
12 employment relationship. Id. at 1091. The Ninth Circuit applies four factors, known
13 as the “Bonnette test,” to determine whether an employment relationship exists
14 between the plaintiff and the individual owner or supervisor, namely, whether the
15 individual: (1) had the power to hire and fire employees; (2) supervised and
16 controlled employee work schedules or conditions of employment; (3) determined
17 the rate and method of payment; and (4) maintained employment records. Bonnette
                                                            th
18 v. Cal. Health and Welfare Agency, 704 F.2d 1465, 1470 (9 Cir. 1983).
19          Here, Dr. Williamson only meets the first of the four factors and, even as to

20 that factor, while she had the power to hire and fire administrative staff, she did not
21 exercise it as she left it to the sound decision-making of the Practice Manager.
22 (Defendants’ Controverting SOF, ¶ 93.) Dr. Williamson did not supervise or control
23 the work schedules or employment conditions for administrative staff. (Defendants’
     Controverting SOF, ¶ 93.) She did not determine their rate or pay or method of
24
     payment.      (Defendants’ Controverting SOF, ¶ 93.)     Nor did she maintain the
25
     employment records – these were maintained by the Practice Manager, who was also
26
     responsible for inputting pay into the Fiesta payroll system.           (Defendants’
27
     Controverting SOF, ¶ D4)
28

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            Moreover, as inherent in and consistent with the four-part Bonnette test, the
 1
     individual held financially responsible for the alleged FLSA violation also should
 2
     have been the person responsible for it. See, e.g., Baystate Alternative Staffing, Inc.
 3
     v. Herman, 163 F.3d 668, 678-79 (1st Cir. 1998).         When evaluating individual
 4
     liability under the FLSA, “courts pay particular attention to whether the corporate
 5
     officer’s duties made him or her principally in charge of directing employment
 6
     practices such that [he or she] was instrumental in causing the corporation to violate
 7
     the FLSA.” Solis v. Velocity Express, Inc., 2010 WL 2990293 at *5 (D. Or. 2010).
 8
     “In the absence of a direct relationship between the corporate officers’ decisions and
 9
     the FLSA violation at issue, courts have found that corporate officers . . . did not
10
     become FLSA employers simply by virtue of their general authority over the
11
     company as a whole.” Id.; accord Vasto v. Credico (USA) LLC, 2016 WL 4147241
12
     at *8 (S.D.N.Y. 2016); Driver v. Appleillinois, LLC, 2012 WL 4175010 at *5 (N.D.
13
     Ill. 2012) (“The issue is not whether an individual controlled every aspect of the
14
     employees’ conduct, but rather, whether the individual had control over the alleged
15
     violation of the statute.”); Smith v. Cheesecake Factory Rest., Inc., 2010 WL 441562
16
     at *13 (M.D. Tenn. 2010).
17
            In this case, Dr. Williamson did not exercise control over the pay and
18
     direction of the Fiesta administrative staff. (Defendants’ Controverting SOF, ¶¶ 93-
19
     94.) That was left to Fiesta’s Practice Manager. (Defendants’ Controverting SOF, ¶¶
20
     93-94.) Nor was Dr. Williamson responsible for the restructuring of Ms. Zuniga’s
21
     pay in 2011 – that decision was reached exclusively by Ms. Singh, without Dr.
22 Williamson’s involvement, or even knowledge, at the time.
                                                                         (Defendants’
23 Controverting SOF, ¶ 16.) For these reasons, Dr. Williamson is not personally liable
24 under the FLSA for the challenged pay decision in dispute between the parties.
25        D.    Randy Williamson Similarly is not Personally Liable and Summary
                Judgment Should be Entered in his Favor.
26
          Although Plaintiff requests that summary judgment be entered directly against
27
   Randy Williamson (Motion, p. 13), she provides no explanation and no legal support
28

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     for her request. There is no basis for it. Dr. Williamson and Randy Williamson
 1
     divorced years ago. (Defendants’ Controverting SOF, ¶ D10.) Fiesta has always
 2
     been Dr. Williamson’s sole and separate property. (Defendants’ Controverting SOF,
 3
     ¶¶ D6 & D10.) Randy Williamson was never employed by Fiesta, he exercised no
 4
     control over pay, scheduling, hiring and firing, or any other aspect of the operation
 5
     evaluated for personal liability, as discussed in the section above. (Defendants’
 6
     Controverting SOF, ¶¶ D7 & D8.) He had nothing to do with the pay plan that
 7
     applied to Ms. Zuniga.
 8
            Plaintiff presumably will suggest that Randy Williamson should be held
 9
     vicariously liable for obligations of his ex-wife and her business, but there is no
10
     justification, legal or otherwise, for imposing any obligation on him. Mr. Williamson
11
     never owned Fiesta. (Defendants’ Controverting SOF, ¶¶ D6 & D10.) It was never a
12
     community asset. (Defendants’ Controverting SOF, ¶¶ D6 & D10.) Consequently,
13
     he should not be held liable for its operations or decision-making relating to the pay
14
     of a single employee. Certainly Plaintiff has not met her burden of justifying a claim
15
     against him and, for that reason, summary judgment should be entered in his favor.
16
            E.      Plaintiff’s Purported Damages Computation is Erroneous.
17
            Plaintiffs’ constantly-roving damages computation has created countless
18
     challenges in this case, not the least of which is the fact that even now she seeks more
19
     than is supported by the theories in her Amended Complaint. Notably, Plaintiffs
20
     originally demanded $17,610.21 in alleged unpaid overtime, plus an additional
21
     liquidated amount, totaling $35,220.42 in demanded compensation, plus attorneys’
22 fees and costs. (Amended Complaint, Doc. #14, Prayer for Relief, ¶¶ A & B.)
23 Plaintiffs’ legal counsel continued to push these errant computations despite repeated
24 written notice, and even computation spreadsheets, that undersigned counsel sent
25 them. While it is a relief Plaintiffs have finally gone back and more accurately
26 computed the disputed amounts, they still overstate matters.
27          Plaintiffs, at least in their MSJ, incorrectly contend that there is $8,394.73 in
28 claimed back overtime, if the 3-year limitations period applies, and only $6,348.43 if

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     the 2-year period is applied. (Plaintiffs’ MSJ, p. 12.) However, this contradicts
 1
     Plaintiffs’ repeated concessions in pleadings and in open court that the most she
 2
     sought was $7,805.73 in alleged unpaid overtime if the 3-year period applied.
 3
     (Plaintiffs’ Response to Defendants’ Motion to Dismiss, Doc. #22, at p. 4.)
 4
     Something obviously is still amiss with her latest computations.
 5
            After re-computing Ms. Zuniga’s claim of back overtime and admitting to the
 6
     Court that there was only $7,805.73 in overtime in dispute, Plaintiffs have since
 7
     added in a new legal theory not supported by their Amended Complaint. Plaintiffs
 8
     raise the fact that Fiesta withheld part of Ms. Zuniga’s compensation to pay back a
 9
     loan, which somehow allegedly violates the FLSA.          (Plaintiffs’ MSJ, at p. 11;
10
     Plaintiffs’ SOF ¶ 74.) This new legal theory is completely unsupported by the
11
     allegations in the Amended Complaint and, therefore, it is barred. Cf. Crawford v.
12
     Gould, 56 F.3d 1162, 1168-69 (9th Cir. 1995) (finding that the court lacks authority to
13
     enter summary judgment on any issue not properly pled).
14
            Moreover, there is no dispute that Ms. Zuniga received the loan amount, and
15
     merely agreed to repay it through reductions in overtime pay. (Plaintiff’s SOF, ¶¶ 66
16
     & 69.) There is nothing remotely wrong or unlawful with the arrangement. The key
17
     is that she received the pay up front (like an advance) which she then paid down
18
     through work hours. She signed an agreement for the arrangement, and personally
19
     tracked the hours associated with paying down the money she owed. (Plaintiff’s
20
     SOF, ¶¶ 66 & 69.) She received the pay – she merely received it before she did the
21
     work, rather than after. She is merely trying to get paid twice (and get liquidated
22 damages on top of it) for pay she already received.
23        The FLSA permits pay deductions to recoup a loan, including a loan to a
24 third-party. 29 CFR § 531.40 (“Where an employer is directed by a voluntary
25 assignment or order of his employee to pay a sum for the benefit of the employee to a
26 creditor, done, or other third party, deduction form the wages of the actual sum so
27 paid is not prohibited.”); W & H Opinion Letter, FLSA2004-19NA (Oct. 8, 2004)
28 (“It has been our longstanding position that where an employer makes a loan or an

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     advance of wages to an employee, the principal may be deducted from the
 1
     employee’s earnings even if such deduction cuts into the minimum wage or overtime
 2
     pay due the employee under the FLSA.”); Brennan v. Veterans Cleaning Serv., Inc.,
 3
     482 F.2d 1362, 1369 (5th Cir. 1973) (“An employer may also count as wages any
 4
     sums paid to a third party at the request of the employee. The payment by the
 5
     employer to the third party is equivalent to a loan to the employee, or an advance
 6
     against his salary. Accordingly, deductions to recoup the outlay may be counted as
 7
     wages.”); Chen v. Cayman Arts, Inc., 757 F. Supp. 2d 1294, 1300-01 (S.D. Fla.
 8
     2010); Vazquez v. Tri-State Mgmt. Co., Inc., 2002 WL 58718 at *4-5 (N.D. Ill. 2002).
 9
            Were we to back out the loan amount of $1,178 in Ms. Zuniga’s overtime pay
10
     computations, her claim would be reduced to $7,216.73 (for a 3-year period) and
11
     $5,170.43 (for a 2-year period).
12
     III.   IN LIGHT OF MS. ZUNIGA’S ADMITTED THEFT OF COMPANY
13          RECORDS,    SUMMARY       JUDGMENT    ON    FIESTA’S
14          COUNTERCLAIMS SHOULD BE AWARDED TO FIESTA, NOT MS.
            ZUNIGA.
15
            As detailed more fully in Defendants’ Motion for Summary Judgment, Ms.
16
     Zuniga admitted to stealing Company records. While she disputes the precise types
17
     and amount, she acknowledges stealing patient records to support a supposed claim
18
     that Fiesta had engaged in fraudulent patient billing. The contention is absurd, and
19
     those inside the company know precisely how absurd, making it clear to them that
20
     she really was acting in a vindictive manner to assert a patently false claim, which
21
     ultimately went nowhere and was rejected by the State. (Defendants’ Controverting
22 SOF, ¶ 125.) Regardless, the evidence demonstrates that Fiesta’s claims are valid
23 and warrant judgment in Fiesta’s favor.
24          A.      Zuniga violated the CFAA and Summary Judgment Should be Entered
                    in Fiesta’s Favor as to the Claim.
25
            As articulated in Defendant’s Motion for Summary Judgment, and
26
     incorporated herein by reference, Ms. Zuniga violated the Computer Fraud and
27
     Abuse Act (“CFAA”) and summary judgment should be granted in Fiesta’s favor.
28

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     Ms. Zuniga openly acknowledges that she accessed Fiesta’s computers and printed
 1
     HIPPA-protected patient records for her own purposes – to push a false and
 2
     malicious allegation of billing fraud against Fiesta. (Defendants’ SOF, ¶¶ 103-111.)
 3
     She also clearly accessed Fiesta’s payroll records – which meant accessing a system
 4
     she had no authority to access – and printed off earnings statements shortly before
 5
     her departure from Fiesta. (Defendants’ SOF, ¶¶ 97-102; Defendants Controverting
 6
     SOF, ¶ 129.)
 7
            Ms. Zuniga attempts to defend against the CFAA claim in part by asserting
 8
     that Fiesta has not proven at least $5,000 in damages, but she cites the wrong
 9
     statutory subsection for her assertion. (Plaintiffs’ MSJ, p. 15.) Under the CFAA,
10
     there are several independent bases for pursuing civil recovery, only one of which is
11
     in the case of harm resulting in at least $5,000 in damages. Another cause of action
12
     arises from an offense that causes “the modification or impairment, or potential
13
     modification or impairment, of the medical examination, diagnosis, treatment, or care
14
     of 1 or more individuals.” 18 U.S.C. §1030(c)(4)(A)(i)(II). This subsection does not
15
     require proof of any damages, let alone $5,000 in damages. Fiesta has demonstrated
16
     that Ms. Zuniga’s acts impaired the treatment of 1 or more individuals and,
17
     consequently, summary judgment should be entered in Fiesta’s favor.
18
            Ms. Zuniga also contends that her impermissible access was permitted
19
     because she had general authorization to access Fiesta’s systems, which overlooks
20
     several important points. First, Ms. Zuniga had no authorization to access Fiesta’s
21
     payroll systems, and the evidence indicates that she accessed Fiesta’s payroll system
22 to print off her earnings statements shortly before her departure from Fiesta.
23 (Defendants’ SOF, ¶¶ 97-102.) Second, Ms. Zuniga accessed patient records beyond
24 the scope of her normal authorization, namely patient treatment notes. (Defendants’
25 SOF, ¶¶ 110.) Third, she had no authorization to print HIPAA-protected patient
26 records for removal from Fiesta premises. (Defendants’ SOF, ¶ 109.)
27          As to the third point, there is a significant split of authority that the parties
28 have brought to the Court’s attention, with the Ninth Circuit the only apparent circuit

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     to find that an employee’s improper use of information does not qualify as
 1
     “exceeding authorized access” under the CFAA. LVRC Holdings LLC v. Brekka, 581
 2
     F.3d 1127 (9th Cir. 2009). The split between the circuit courts certainly calls for
 3
     Supreme Court resolution. However, there is a significant difference between the
 4
     records in Brekka and those accessed and printed in this case. These were HIPAA-
 5
     protected records. They should never have been removed from Fiesta. Ms. Zuniga’s
 6
     mass printing of HIPAA-protected records for removal exceeded her authorized
 7
     access.5
 8
            B.      Ms. Zuniga Breached her Duty of Loyalty and Summary Judgment
 9                  Should be Entered in Fiesta’s Favor as to the Claim and as to Fiesta’s
                    Misappropriation Claim.
10
            Ms. Zuniga breached her duty of loyalty by stealing Fiesta records, indeed,
11
     HIPPA-protected patient records, as briefed in Defendant’s Motion for Summary
12
     Judgment, which is incorporated herein by reference. Ms. Zuniga contends that an
13
     employee’s duty of loyalty may be compromised when the employee is engaged in
14
     whistleblowing activity. There is no basis for the assertion under Arizona law.
15
     Plaintiffs cite to the Arizona Employment Protection Act for the proposition that an
16
     employee may engage in whistleblowing, but there is nothing therein that remotely
17
     suggests that an employee may steal records and still protect his or her job position,
18
     nor a single Arizona case supporting that proposition. Other courts, when evaluating
19
     protected activity under a variety of other employment laws, have routinely held that
20
     that protected activity does not extend to theft of an employer’s records –
21
     whistleblowing activity loses its protection when it involves theft. See, e.g., O’Day
22
     v. McDonnell Douglas Helicopter Co., 79 F.3d 756, (9th Cir. 1996) (employee’s theft
23
     of personnel records to preserve evidence for his planned discrimination lawsuit was
24
     not protected and ruling that the employee “committed a serious breach of trust, not
25
26          5
           Plaintiffs have repeatedly asserted that Ms. Zuniga took the records because
27 she was purportedly a “whistleblower,” when in reality she was merely seeking to
   pursue a vindictive agenda against Dr. Williamson. Regardless, the CFAA does not
28 recognize a “whistleblower” exception.

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     only in rummaging through his supervisor’s office for confidential documents, but
 1
     also in copying those documents and showing them to a co-worker . . . [l]ike any
 2
     employer, McDonnell Douglas has a strong interest in . . . discouraging this sort of
 3
     behavior); Niswander v. Cincinnati Ins. Co., 529 F.3d 714, (6th Cir. 2008)
 4
     (employee’s disclosure of confidential documents related to discrimination claim was
 5
     not protected activity under Title VII and, therefore, employer’s termination of
 6
     employee was not unlawful).
 7
            Ms. Zuniga therefore cites out-of-state authority to further her argument, but
 8
     her cited cases are inapposite and, more importantly do not apply or analyze Arizona
 9
     law, Arizona causes of action, or breach of the duty of loyalty claims generally.
10
     (Plaintiffs’ MSJ, at pp. 19-20.) All three cases cited concerned the individual’s
11
     contractual obligations – under specific non-disclosure agreements – to return
12
     documents in their possession. None of the cases dealt with an employee’s wholesale
13
     theft of an employer’s records.
14
            Notably, the Ninth Circuit has expressly rejected an employee’s argument that
15
     theft of her employer’s records to support a whistleblower claim shields her from
16
     liability for her theft. Cafasso v. General Dynamics C4 Sys., Inc., 637 F.3d 1047,
17
     1062 (9th Cir. 2011). Instead, the Ninth Circuit affirmed the district court’s grant of
18
     summary judgment in favor of the employer’s breach of contract claim (the contract
19
     prohibited unauthorized use of the employer’s records). Id.
20
            Ms. Zuniga’s motivations – whether to truly vindicate a public interest or to
21
     engage in vindictive misconduct – does not shield her from the consequences of her
22 thefts. She stole the records, thereby breaching her duty of loyalty and
23 misappropriating Fiesta’s property. Summary judgment should be entered in Fiesta’s
24 favor as to the claims.
25
            C.      Fiesta has Adequately Identified its Damages.
26
            As an initial matter, Fiesta primarily seeks nominal damages for the harms
27
28

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     that it suffered, which is its right.6 There can be no dispute that Ms. Zuniga took
 1
     records – she admits as much. She merely disputes the quantum and type that she
 2
     pilfered. Regardless, the quantifiable economic damages that Fiesta experienced
 3
     solely from the theft are difficult to measure and, indeed, may cost more to compute
 4
     than the economic computation might total, which is why Fiesta proceeds primarily
 5
     on a nominal damages theory.7
 6
            Nominal damages are available for the taking of Fiesta’s records under
 7
     established long-established Arizona law. Scott v. Allstate Ins. Co., 27 Ariz. App.
 8
     236, 240 n.1 (Ct. App. 1976); Babbitt & Cowden Live Stock Co. v. Hooker, 28 Ariz.
 9
     263 (1925) (“Even in the absence of any evidence as to value, plaintiff would have
10
     been entitled to nominal damages for the conversion.”). The case that Plaintiffs cite
11
     and purport to quote for the proposition that nominal damages are unavailable not
12
     only does not support their argument, it does not even include the purported quoted
13
     language that they attribute to it. (See Plaintiff’s MSJ at p. 20, purporting to quote
14
     John E. Shaffer Enters. v. City of Yuma, 183 Ariz. 428, 904 P.2d 1252, 1256 (Ariz.
15
     App. 1995).) Any argument that nominal damages are unavailable under Arizona
16
     law for the taking of property not only overlooks precedent, but Arizona’s
17
     Constitution which prohibits any such limitation – “The right of action to recover
18
     damages for injuries shall never be abrogated.” (Ariz. Const. Art. 18, §6.)
19
            Similarly, nominal damages are not prohibited by the CFAA, despite
20
     Plaintiff’s errant citation to the contrary. The provision that Plaintiff cites – 18
21
     U.S.C. § 1030(g) – only limits damages to “economic damages” for a certain type of
22
23
            6
            Only Fiesta pursues counterclaims in this matter. Dr. Williamson originally
24 did, but then withdrew them and filed them in a separate legal action. The remaining
   claims have been pled in favor of Fiesta only.
25        7
             References in Defendants’ disclosure statements to recovery for emotional
26 distress  damages are in error – Defendants do not seek recovery for emotional
   distress damages. The mistaken references to emotional distress damages derive
27 from  Dr. Williamson’s claims lodged earlier in the case for Ms. Zuniga’s various
   defamation-related torts, and were inadvertently copied into later iterations of the
28 disclosure  statement. Those claims were removed from Defendants’ amended
   counterclaims and are no longer a part of the case.
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     violation, namely a violation involving $5,000 or more in damages. However, there
 1
     are several other types of violations. Those other types of violations are not limited
 2
     to “economic damages,” including the type of violation under which Fiesta seeks
 3
     recovery, namely a violation that impairs the treatment of a patient. See 18 U.S.C. §
 4
     1030(c)(4)(A)(i)(II).8
 5
            What Plaintiff also overlooks is that Fiesta seeks injunctive relief in this
 6
     matter, namely return of its records. This has been pled as part of its Counterclaims,
 7
     and it has every right to seek this relief. Certainly injunctive relief is appropriate to
 8
     remedy the misappropriation, and is available under the CFAA. 18 U.S.C. § 1030(g).
 9
            As for attorneys’ fees, Defendants seek them, but not under the FLSA.
10
     Defendants have properly pled and asserted those claims in its disclosure statement,
11
     including under applicable statutory provisions.
12
            RESPECTFULLY SUBMITTED this 20th day of April, 2017.
13
                                           JENNINGS, STROUSS & SALMON, P.L.C.
14
15                                         By /s/ Chris M. Mason
                                              Chris M. Mason
16                                            One East Washington St., Suite 1900
                                              Phoenix, AZ 85004-2554
17                                            Attorneys for Defendants/Counterclaimants

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19                                         By /s/ Michael L. Schwartz
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20                                            7702 East Doubletree Ranch Road.
                                              Suite 300
21                                            Scottsdale, AZ 85258
                                              Attorneys for Defendants/Counterclaimants
22
23
24
25
            8
26          Section 1030(g) specifically provides that “[d]amages for a violation
   involving only conduct described in subsection (c)(4)(A)(i)(I) [violations involving
27 $5,000 or more in harm] are limited to economic damages.” (Emphasis added.) This
   provision notably does not preclude other types damages, including nominal
28 damages,   for violations involving subsection (c)(4)(A)(i)(II), namely those that
   impair patient treatment.
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                              CERTIFICATE OF SERVICE
 1
         I hereby certify that on April 20, 2017, I electronically transmitted the
2 attached document to the Clerk’s Office using the CM/ECF System for filing and
3 transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
4                Kraig J. Marton: kjm@jaburgwilk.com

5                Jeffrey A. Silence: jxs@jaburgwilk.com
6                Michael L. Schwartz: Schwartz@schwartzlawfirmaz.com
7
         I further certify that on April 20, 2017, I put in the U.S. Mail a paper courtesy
8 copy of the foregoing document and the Notice of Electronic Filing to the assigned
  Judge.
9
10                                           /s/Kathrine A. Roberts
11                                           Kathrine A. Roberts

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